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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN
                                    120 North Henry Street
                                      Post Office Box 432
                                 Madison, Wisconsin 53703-0432

                           APPEAL INFORMATION PACKET

Enclosed in this packet you will find 2 forms:

1. Seventh Circuit Transcript Information Sheet
      The appellant shall complete a transcript form whether or not a transcript is ordered.
      Return the form to the DISTRICT COURT at the above address. If you are an attorney,
      you may file the completed form electronically under the appeals documents area,
      “Transcript Request Form” event in CM/ECF. If you are a CJA appointed attorney,
      please contact our office for a CJA 24 form or print it from the district court website at
      http://www.wiwd.uscourts.gov.

2. Docket Sheet
      The docket sheet is available through PACER. The docket sheet lists all the pleadings,
      hearings, depositions, and transcripts filed in this case. (Only sent to pro se appellants.)


PLEASE REVIEW CIRCUIT RULE 10
     This rule explains the preparation of the record that is sent to the appeals court. Also
     review the Federal Rules of Appellate Procedure & Seventh Circuit Rules. Their rules can
     also be obtained from their website at http://www.ca7.uscourts.gov.

PLEASE REVIEW CIRCUIT RULE 3(c)(1)
     This rule explains the DOCKETING STATEMENT.

PLEASE REVIEW CIRCUIT OPERATING PROCEDURE 10
     This rule explains that documents sealed in the district court will become a public record
     on appeal unless sealed by that court or pursuant to statute or rule of procedure.


EXHIBITS
     Counsel must ensure that exhibits to be included in the record that are not in the
     possession of the district court clerk are furnished to the clerk within ten days after the
     filing of the notice of appeal. Counsel will be responsible for sending bulky exhibits to
     the court of appeals. Please contact the clerk’s office with any questions.

REFER QUESTIONS TO:           Marlene Olson           or           U.S. Court of Appeals
                              Appeals Clerk                        Seventh Circuit
                              (608) 261-5712                       (312) 435-5850



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                    SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET
PART I - Must be completed by party or party’s attorney pursuant to Rule 10(b) of the Federal Rules of Appellate Procedure and
Rule 11(a) of the Circuit Rules. The appellant must file this form with the court reporter within 10 days of filing the notice of
appeal, whether a transcript is being ordered or not. (FRAP 10(b)(1)) “Satisfactory arrangements with the court reporter for
payment of the costs of the transcripts” must also be made at that time. (FRAP 10(b)(4)) (Note: Appellees as well as appellants
are expected to use this form when ordering transcripts.)
Short Title                                                              District                        D.C. Docket No.



                                                                       District Judge                 Court Reporter


 G       I am ordering transcript.                                     Sign below and return original and one copy
                                                                       To court reporter. Distribute remaining copies
 G       I am not ordering transcript, because:                        to Clerk of the District Court and opposing
                                                                       party, retaining one copy for yourself.
 G       The transcript has been prepared.
  Indicate proceeding for which transcript is required. Dates must be provided:                       Date(s)

 G Pre-trial proceeding. Specify: ____________________________________                     _____________________________

 G   Voir Dire                                                                             _____________________________

 G   Trial or hearing. Specify: _______________________________________                    _____________________________

 G   Opening statement                                                                     _____________________________

 G   Instruction conference                                                                _____________________________

 G   Closing statements                                                                    _____________________________

 G   Court instructions                                                                    _____________________________

 G   Post-trial proceedings. Specify: __________________________________                   _____________________________

 G   Sentencing                                                                            _____________________________

 G   Other proceedings. Specify: ____________________________________ _____________________________

         Method of Payment:             Cash     Check or Money Order             C.J.A. Voucher
         Status of Payment:             Full Payment      Partial Payment                  No Payment Yet


Signature: __________________________________________________                     Telephone No. _________________________

Address:___________________________________________________
         ___________________________________________________
         ___________________________________________________                      Date: _________________________________

PART II - Must be completed by Court Reporter pursuant to Rule 11(b) of the Federal Rules of Appellate Procedure.
         By signing this Part II, the Court Reporter certifies that satisfactory arrangements for payment have been made.
U.S.C.A. Docket No.            Date Order Received              Estimated Completion Date              Estimated Length



         Signature of Court Reporter: _____________________________________                Date: ________________________

         NOTICE: The Judicial Conference of the United States, by its resolution of March 11, 1982, has provided that a penalty
         of 10 percent must apply, unless a waiver is granted by the Court of Appeals’ Clerk, when a “transcript of a case on
         appeal is not delivered within 30 days of the date ordered and payment received therefor.” The penalty is 20 percent
         for transcript not delivered within 60 days.

         Copies to: Court Reporter, then sent to U.S.C.A. Clerk; District Court Clerk; and Service Copies.
